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SECOND DISTRICT OF TEXAS

FORT WORTH 

NO. 2-06-108-
CV



IN RE KURBY DECKER	RELATOR

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ORIGINAL PROCEEDING

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MEMORANDUM
 
OPINION
(footnote: 1)
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The court has considered relator's petition for writ of mandamus 
and is of the opinion that relief should be denied. &nbsp;Accordingly, relator's petition for writ of mandamus is denied.



PER CURIAM





PANEL B
: &nbsp;DAUPHINOT, HOLMAN, and GARDNER, JJ.



DELIVERED: April 6, 2006



FOOTNOTES
1:See 
Tex. R. App. P. 47.4
.




